         Case 1:22-cr-00300-KWR           Document 66       Filed 12/20/23      Page 1 of 2




                            IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF NEW MEXICO
                                     _________________

UNITED STATES OF AMERICA

               Plaintiff,

       vs.                                                      Case No. 1:22-CR-00300-KWR


WALTER EDDINGS,

               Defendant.

                            ORDER DENYING MOTION TO SUPPRESS

       THIS MATTER is before the Court on Defendant Walter Eddings’ Motion to Suppress (Doc.

52) filed on September 20, 2023. The court held an evidentiary hearing on December 20, 2023. After

reviewing the motion, the responses, exhibits, testimony, and oral arguments, the Court finds that the

Defendant’s Motion to Suppress is not well-taken and is DENIED.

       In denying the motion, the Court assesses, by a totality of the circumstances, the four probable

cause factors cited by the United States as a basis for arresting Mr. Eddings without a warrant. Doc.

53 at 7. See United States v. Morgan, 936 F.2d 1561, 1568-59 (10th Cir. 1991). The Court finds that

New Mexico State Police officers had probable cause based on the officer’s identification of Mr.

Eddings as a felon and the officer’s observation that Mr. Eddings physically moved a firearm in the

back of a vehicle. The court’s findings are more fully set forth in its ruling from the bench following

the evidentiary hearing on December 20, 2023.
      Case 1:22-cr-00300-KWR    Document 66    Filed 12/20/23   Page 2 of 2




     IT IS THEREFORE ORDERED that the Defendant’s Motion to Suppress (Doc. 52) is

DENIED.




                                   ________________________________
                                   KEA W. RIGGS
                                   UNITED STATES DISTRICT JUDGE




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